     CASE 0:15-cv-02184-SRN-BRT Document 289 Filed 03/12/18 Page 1 of 6




                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


TRACEE A. BEECROFT, on behalf of               Case No. 15-cv-02184 (SRN/BRT)
herself and all others similarly situated,

              Plaintiff,                               ORDER
                                              FINALLY APPROVING CLASS
v.                                               ACTION SETTLEMENT

ALTISOURCE BUSINESS SOLUTIONS
PVT. LTD.,

              Defendant.


       The Court having held a Final Approval Hearing on March 12, 2018, notice

of the Final Approval Hearing having been duly given in accordance with this

Court’s Order: (1) Conditionally Certifying a Settlement Class, (2) Preliminarily

Approving Class Action Settlement, (3) Approving Notice Plan, and (4) Setting

Final Approval Hearing (“Preliminary Approval Order”), and having considered

all matters submitted to it at the Final Approval Hearing and otherwise, and finding

no just reason for delay in order of this dismissal and good cause appearing

therefore,

       It is hereby ORDERED, ADJUDGED, AND DECREED as follows:

       1.     The Settlement Agreement dated September 28, 2017, including its

exhibits (the “Settlement Agreement”), and the definition of words and terms
    CASE 0:15-cv-02184-SRN-BRT Document 289 Filed 03/12/18 Page 2 of 6




contained therein are incorporated by reference in this Order. The terms of this

Court’s Preliminary Approval Order are also incorporated by reference in this

Order.

      2.    This Court has jurisdiction over the subject matter of the Action and

over the Parties, including all members of the following Settlement Class certified

for settlement purposes in this Court’s Preliminary Approval Order:

      SETTLEMENT CLASS: The 56,104 persons whose cell phones
      Altisource called during the Class Period using Aspect in connection
      with its Cash for Relocation (“CFR”) program.

      3.    The Court hereby finds that the Settlement Agreement is the product

of arm’s-length settlement negotiations between the Plaintiff and Class Counsel,

and Altisource.

      4.    The Court hereby finds and concludes that Class Notice was

disseminated to members of the Settlement Class in accordance with the terms set

forth in the Settlement Agreement and that Class Notice and its dissemination were

in compliance with this Court’s Preliminary Approval Order.

      5.    The Court further finds and concludes that the Class Notice and

claims submission procedures set forth in the Settlement Agreement fully satisfy

Rule 23 of the Federal Rules of Civil Procedure and the requirements of due

process, were the best notice practicable under the circumstances, and support the


                                        -2-
    CASE 0:15-cv-02184-SRN-BRT Document 289 Filed 03/12/18 Page 3 of 6




Court’s exercise of jurisdiction over the Settlement Class as contemplated in the

Settlement and this Order.

      6.     This Court hereby finds and concludes that the notice provided by

Altisource to the appropriate State and federal officials pursuant to 28 U.S.C. §

1715 fully satisfied the requirements of that statute.

      7.     The Court hereby finally approves the Settlement Agreement and the

Settlement contemplated thereby, and finds that the terms constitute, in all

respects, a fair, adequate and reasonable settlement as to all Settlement Class

Members in accordance with Rule 23 of the Federal Rules of Civil Procedure, and

directs its consummation pursuant to its terms and conditions. Each Settlement

Class Member is hereby bound by the Settlement Agreement.

      8.     The Court hereby finds that the Settlement Class Members have been

adequately represented by the Class Representative and Class Counsel.

      9.     This Court hereby dismisses, with prejudice, without costs to any

party, except as expressly provided for in the Settlement Agreement, the Action.

      10.    Plaintiff and each and every one of the Settlement Class Members

unconditionally, fully, and finally release and forever discharge the Released

Parties from the Released Claims. In addition, any rights of the Class

Representative and each and every one of the Settlement Class Members to the


                                         -3-
     CASE 0:15-cv-02184-SRN-BRT Document 289 Filed 03/12/18 Page 4 of 6




protections afforded under Section 1542 of the California Civil Code and/or any

other similar, comparable, or equivalent laws, are terminated.

      11.     Each and every Settlement Class Member, and any person actually or

purportedly acting on behalf of any Settlement Class Member(s), is hereby

permanently barred and enjoined from commencing, instituting, continuing,

pursuing, maintaining, prosecuting, or enforcing any Released Claims (including,

without limitation, in any individual, class or putative class, representative or other

action or proceeding), directly or indirectly, in any judicial, administrative, arbitral,

or other forum, against the Released Parties.

      12.     The Settlement Agreement (including, without limitation, its exhibits),

and any and all negotiations, documents, and discussions associated with it, shall

not be deemed or construed to be an admission or evidence of any violation of any

statute, law, rule, regulation or principle of common law or equity, of any liability

or wrongdoing, by Altisource, or of the truth of any of the claims asserted by

Plaintiff in the Action, and evidence relating to the Settlement Agreement shall not

be discoverable or used, directly or indirectly, in any way, whether in the Action or

in any other action or proceeding, except for purposes of enforcing the terms and

conditions of the Settlement Agreement, the Preliminary Approval Order, and/or

this Order.


                                          -4-
    CASE 0:15-cv-02184-SRN-BRT Document 289 Filed 03/12/18 Page 5 of 6




      13.    If for any reason the Settlement terminates, then certification of the

Settlement Class shall be deemed vacated. In such an event, the certification of the

Settlement Class for settlement purposes or any briefing or materials submitted

seeking certification of the Settlement Class shall not be considered in connection

with any subsequent class certification issues, and the Parties shall return to the

status quo ante in the Action, without prejudice to the right of any of the Parties to

assert any right or position that could have been asserted if the Settlement had

never been reached or proposed to the Court.

      14.    The Court grants Class Counsel’s application for fees and costs, and

awards $600,000 in attorney’s fees and $24,278.43 in costs. The Court finds these

amounts appropriate, fair and reasonable. The Court awards $15,000 as an

incentive award for Tracee Beecroft, and finds this amount fair and reasonable.

      15.    The Court finds that there is a reasonable and appropriate nexus

between the class members, the claims in this case and Habitat for Humanity, and

therefore approves Habitat for Humanity as the cy pres recipient for left over funds

under the Settlement.

      16.    Finding that there is no just reason for delay, the Clerk of the Court is

directed to enter this Order on the docket and enter final judgment pursuant to Rule

54(b) forthwith.


                                         -5-
    CASE 0:15-cv-02184-SRN-BRT Document 289 Filed 03/12/18 Page 6 of 6




      17.   The Court retains jurisdiction of all matters relating to the

interpretation, administration, implementation, effectuation, and enforcement of

the Settlement.



      IT IS SO ORDERED



Dated: March 12, 2018             s/Susan Richard Nelson
                                  Susan Richard Nelson
                                  United States District Judge




                                        -6-
